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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                    :
DIAMONIK HOUGH, et al.,                             :
                              Plaintiffs,           :
                                                    :       Civil Action
                       v.                           :       No. 2:20-cv-03508
                                                    :
CITY OF PHILADELPHIA,                               :
                                                    :
                              Defendants.           :


              STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT

       Plaintiffs and Defendant City of Philadelphia, through their undersigned counsel, hereby

agree that City of Philadelphia shall have an extension to January 29, 2021 to respond to

Plaintiffs’ complaint in the captioned matter.

 MARSHALL DENNEHEY WARNER                                    MINCEY FITZPATRICK ROSS, LLC
    COLEMAN AND GOGGIN

                                                             Riley H. Ross III /s/

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City of Philadelphia


                                      APPROVED BY THE COURT:
                                        s/ANITA B. BRODY, J.

                                             ANITA B. BRODY, J.
